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                                  4                               IN THE UNITED STATES DISTRICT COURT

                                  5                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      UNITED STATES OF AMERICA,                    Case No. 18-cr-00465-MMC-1
                                                          Plaintiff,
                                  8
                                                                                      ORDER GRANTING IN PART AND
                                                 v.                                   DENYING IN PART MICRON
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                                                                                      TECHNOLOGY, INC.'S MOTION TO
                                  10     UNITED MICROELECTRONICS                      MODIFY AND QUASH
                                         CORPORATION, et al.,
                                  11                      Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is Micron Technology, Inc.'s ("Micron") "Motion to Modify and
                                  14   Quash," filed June 21, 2021. Defendant Fujian Jinhua Integrated Circuit Co., Inc.
                                  15   ("Jinhua") has filed opposition, to which Micron has replied. The matter came on
                                  16   regularly for hearing on July 21, 2021. Neal J. Stephens of Jones Day appeared on
                                  17   behalf of Micron. Jack P. DiCanio and Matthew E. Sloan of Skadden, Arps, Slater,
                                  18   Meagher & Flom LLP appeared on behalf of Jinhua.
                                  19          The Court having read and considered the parties' respective written submissions,
                                  20   and having considered the oral arguments made at the hearing, the motion, for the
                                  21   reasons stated on the record at the hearing, is hereby GRANTED in part and DENIED in
                                  22   part as follows:
                                  23          1. With respect to Request 1, the motion is GRANTED, with the limited exception
                                  24   that, to the extent Micron Memory Taiwan Co., Ltd. ("MMT") has handbooks that were in
                                  25   effect during the time period October 1, 2015 through September 27, 2018, and that have
                                  26   not already been produced, the motion is DENIED.
                                  27          2. With respect to Requests 2-5 and 7, the motion is GRANTED, with the limited
                                  28   exception that, to the extent MMT has employment contracts and other documents that
                                  1    were in effect during the time period October 1, 2015 through September 27, 2018, are of

                                  2    the same nature as those already produced, and, to date, have not been produced, the

                                  3    motion is DENIED.

                                  4          3. With respect to Requests 6 and 8-22, the motion is GRANTED.

                                  5          IT IS SO ORDERED.

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                                  7    Dated: July 23, 2021
                                                                                            MAXINE M. CHESNEY
                                  8                                                         United States District Judge
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Northern District of California
 United States District Court




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